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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                           SOUTHERN DIVISION AT LONDON
                                 (Electronically Filed)

DAVID WILSON, as Administrator of the )
Estate of Lisa Noble, Deceased, Plaintiff )
                                          )
vs.                                       )
                                          )    CIVIL ACTION NO. 6:17-157-KKC
                                          )
BEACON TRANSPORT, LLC and                 )
TERRAN COOPER, Defendants                 )
                                          )
____________________________________


 ORDER GRANTING DEFENDANTS, BEACON TRANSPORT, LLC’S AND TERRAN
  COOPER’S MOTION FOR LEAVE TO TAKE THE DEPOSITIONS OF SELENA
           MOORE, TAMMY SAYLOR AND DR. DAVID DOUGLAS,
   OR IN THE ALTERNATIVE, FRCP 37 MOTION TO PROHIBIT TESTIMONY
         AND/OR USE OF STATEMENTS BY THE AFOREMENTIONED

       THIS MATTER having come before the Court upon the Motion of the Defendants,

Beacon Transport, LLC and Terran Cooper, seeking leave to take the depositions of Selena

Moore, Tammy Saylor and Dr. David Douglas, or in the Alternative, FRCP 37 Motion to

Prohibit Testimony and/or Use of Statements by the Aforementioned, Court being otherwise

thoroughly and sufficiently advised;

       IT IS THEREFORE ORDERED AND ADJUDGED that the Motion of the Defendants,

Beacon Transport, LLC and Terran Cooper, is hereby GRANTED.

       IT IS SO ORDERED, this the ________ day of _______________, 2018.




                                                  ___________________________________
                                                  JUDGE, HANLY A. INGRAM
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